Case 2:24-cv-00909-SRC-MAH          Document 50         Filed 10/30/24    Page 1 of 3 PageID: 1137


  Loly G. Tor
  K&L GATES LLP
  One Newark Center, 10th Floor
  Newark, New Jersey 07102
  Phone: (973) 848-4026
  loly.tor@klgates.com

  Attorney for Defendants Cipla Limited and
  Cipla USA, Inc.

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

   TEVA BRANDED
   PHARMACEUTICAL,                                Case 2:24-cv-0909-SRC-MAH (consolidated)
   PRODUCTS LIMITED; NORTON                       Case 2:24-cv-5856-SRC-MAH
   (WATERFORD) LTD.,                              Case 2:24-cv-7162-SRC-MAH

                      Plaintiff,                  Hon. Stanley R. Chesler, U.S.D.J.
            v.                                    Hon. Michael A. Hammer, U.S.M.J.

   CIPLA USA, INC.; CIPLA LTD.,

                      Defendants.


                 JOINT STIPULATION AND          ORDER REGARDING
                         MODIFICATION OF SCHEDULING ORDER

           WHEREAS, the Scheduling Order the Court entered on August 13 2024 (D.I. 38) and

  amended on August 26, 2024 (D.I. 42), set the following deadlines and, whereas, Plaintiffs and

  Defendants have agreed to extend the deadlines as follows:

                           Event                           Current Date        Proposed Date
   Defendants’ invalidity and non-infringement
                                                          October 31, 2024    November 7, 2024
   contentions (L. Pat. R. 3.4(b), (c) and 3.6(f))
   Plaintiffs’ infringement contentions and responses
   to invalidity contentions (L. Pat. R. 3.2 and         December 20, 2024    January 10, 2025
   3.4A(e))
   Exchange of proposed terms for construction (L.
                                                           January 8, 2025    January 15, 2025
   Pat. R. 4.1(a))
   Exchange of preliminary claim constructions and
   identify any intrinsic and extrinsic evidence (L.      January 22, 2025    January 27, 2025
   Pat. R. 4.2(c))
   Meet and confer to narrow claim construction
                                                          January 29, 2025    February 3, 2025
   issues (L. Pat. R. 4.2(d))

  508582881.3
Case 2:24-cv-00909-SRC-MAH           Document 50        Filed 10/30/24     Page 2 of 3 PageID: 1138


           WHEREAS, no other deadline set forth in the Scheduling Order (D.I. 42) will be modified

  by this extension;

           NOW, THEREFORE, the parties hereby stipulate and agree, subject to the approval of the

  Court, as follows:

           1.     The deadline to serve invalidity and non-infringement contentions referenced in L.

  Pat. R. 3.4(b), (c) and 3.6(f) is extended to November 7, 2024.

           2.     The deadline to serve infringement contentions and responses to invalidity

  contentions referenced in L. Pat. R. 3.2 and 3.4A(e) is extended to January 10, 2025.

           3.     The deadline to exchange proposed terms for construction referenced in L. Pat. R.

  4.1(a) is extended to January 15, 2025.

           4.     The deadline to exchange preliminary claim constructions and identify any intrinsic

  and extrinsic evidence referenced in L. Pat. R. 4.2(c) is extended to January 27, 2025.

           5.     The deadline to meet and confer to narrow claim construction issues referenced in

  L. Pat. R. 4.2(d) is extended to February 3, 2025.



  Dated: October 29, 2024


  Stipulated and agreed to by:

   K&L GATES LLP                                   WALSH PIZZI O’REILLY FALANGA LLP

   s/ Loly G. Tor                                  s/Liza M. Walsh              s
   Loly G. Tor                                     Liza M. Walsh
   One Newark Center, 10th Floor                   Selina M. Ellis
   Newark, New Jersey 07102                        Christine P. Clark
   Tel: (973) 848-4026                             Three Gateway Center
                                                   100 Mulberry Street, 15th Floor
   Attorney for Defendants Cipla USA, Inc.         Newark, NJ 07102
   and Cipla Ltd.                                  Tel: (973) 757-1100

                                                   Attorneys for Plaintiffs
                                                   Teva Branded Pharmaceutical
                                                   R&D Inc. and Norton (Waterford) Ltd..
                                                   2
  508582881.3
Case 2:24-cv-00909-SRC-MAH           Document 50   Filed 10/30/24   Page 3 of 3 PageID: 1139




                                           ORDER

           The above extension is ORDERED GRANTED. The deadlines are extended in accordance
  with the Parties’ stipulation above.


  ORDER DATED:
   10/30/2024
                                            ______________________________
                                            Hon. Michael A. Hammer, U.S.M.J.




                                               3
  508582881.3
